    Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 1 of 15
                              RYAN JON ORNER
                                     RJORNER & COMPANY, LLC
                                   300 South Duval Street, Unit 707
                                      Tallahassee, Florida 33201
                                (212) 535-9593 • rjorner@rjorner.com


                                  SUMMARY OF FINDINGS

In order to reach the opinions, and support the calculations and findings I have made in this case,
I reviewed a significant volume of documents in the record, specifically the following sets of
document production from the various parties and depositions:

TSI Bates 1-239
TSI Bates 240-249
TSI Bates 250-443
TSI Bates 444-582
TSI 2/21/20 Document 123-1 through 123-21, p24
TSI May 2020 Records D000001– D005235
TSI May 2020 Records D005241 –D022481
GPDEV-SIMONS Bates 1-653
GPDEV-SIMONS Bates 654-665
GPDEV-SIMONS Bates 654-665
GPDEV-SIMONS Bates 666-840
GPDEV-SIMONS Bates 841-966
Bering Straits Bates 1-8256
Nestle Waters North America Bates 000001 – 000319
Coke Florida Bates 000001 – 000034
FEMA Bates 000001 – FEMA 000235
FEMA 11/19/19 Report
FEMA 01/22/20 Pages
FEMA Delivery Order HSFE7017D0021 – HSFE7017J0273
Deposition of Deborah Mott, Vol I
Deposition of Deborah Mott, Vol II
Deposition of Christopher Mott
Deposition of Jordan Simons
Deposition of George Peterson
Florida Department of State, Division of Corporations, Coakley Logistics Services, LLC filings
Delaware Department of State, Division of Corporations, Coakley Logistics, LLC
FASB Accounting Standards Codification paragraphs 340-40-25-7; 470-40-05-2; 606-10-05-4
United States Bankruptcy Court Case 6:15-bk-07397-CCJ Doc 583 Filed 08/05/19
GovTribe – Team Systems International, LLC – contract details
GovTribe – contract potential value – HSFE7017D0021

I have had access to all documents in Plaintiff’s counsel’s possession and, based on my review of
this record, I have reached the following conclusions as detailed in the attached spreadsheets and
supporting schedules, and findings summarized below:




                                              Page | 1
    Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 2 of 15
                                    RJORNER & COMPANY, LLC




I - Summary of Amounts Due Plaintiffs from FEMA Water Supply Contract Profits, as of
May 2019.

TOTAL FEMA Water Contract Gross Revenues Paid to TSI (Schedules A and A1)           $37,579,548
TOTAL Supported Contract Cost of Goods and Direct Expenses (Schedules B and B1)     $12,196,381
TOTAL Extrapolated Expenses with Limited and/or No Detailed Record (Schedule B5)    $ 371,380
TOTAL Net Income as Defined by Parties' Agreement (Schedule C)                      $25,011,787

       TSI Net Income Profit Sharing                       75.00%                  $18,758,840
       Plaintiffs' Net Income Profit Sharing               25.00%                  $ 6,252,947
                                                          100.00%                  $25,011,787

       Amounts Paid to Plaintiffs                                                  $   998,370

Net Income Profit Sharing Amounts Due to Plaintiffs (Schedule C)                   $ 5,254,577

Based on the available record and document production noted above, the records which were
relied on to directly support the detailed findings and conclusions summarized above follow:

       A. Documents supporting the analysis of $37,579,548 of Total FEMA Water
          Contract Gross Revenues Paid to TSI on Schedules A and A1, for the supply of
          12,479,040 liters of water:

           -   TSI 67
           -   TSI 68
           -   TSI 448
           -   TSI 449
           -   Bering Straits 00007411-7413
           -   FEMA 01/22/20 pp 2-5
           -   FEMA 11/19/19 Report pg 2
           -   TSI 2/21/20 Document 123-1
           -   TSI 2/21/20 Document 123-4
           -   TSI 2/21/20 Document 123-5
           -   TSI 2/21/20 Document 123-6
           -   TSI 2/21/20 Document 123-7
           -   TSI D019102
           -   TSI D019082-19100
           -   FASB Accounting Standards Codification paragraph 606-10-05-4
           -   GovTribe - Team Systems International, LLC – contract details
           -   FEMA Delivery Order HSFE7017D0021 – HSFE7017J0273
           -   FEMA 11/19/19 Report – IDIQ/BPA Obligation by Vendor Report
           -   FEMA Contract Ceiling Amount – 5/20/19 (FEMA 000050)
           -   GovTribe – contract potential value – HSFE7017D0021




                                               Page | 2
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 3 of 15
                            RJORNER & COMPANY, LLC




  B. From the records reviewed, documents supporting the analysis of Total
     Supported Water Contract Cost of Goods and Direct Expenses of $12,196,381
     that were incurred and paid by TSI under the Contract, and reflected on
     Schedule B and B1, follow:

     -   TSI 67
     -   TSI 68
     -   TSI 000426-436
     -   TSI 000437-441
     -   Bering Straits 00002987-2993
     -   Bering Straits 00003002-3010
     -   Bering Straits 00002885-2890
     -   Bering Straits 00003433-3434
     -   Bering Straits 00003962
     -   Bering Straits 00003972-4024
     -   Bering Straits 00003554-3574
     -   Bering Straits 00003453-3461
     -   Bering Straits 00008205
     -   Bering Straits 00008207
     -   Bering Straits 00007021-7082
     -   Bering Straits 00007083-7151
     -   Bering Straits 00007152-7233
     -   Bering Straits 00006840-6931
     -   Bering Straits 00006932-7020
     -   Bering Straits 00008198-8204
     -   Bering Straits 00008198-8218
     -   TSI 000313
     -   TSI 000331
     -   TSI D015911-15913
     -   TSI D015951-15952
     -   Bering Straits 00003462-3473
     -   Bering Straits 00006669-6677
     -   Bering Straits 00004884-4926
     -   Bering Straits 00007570-7594
     -   TSI 000397-420
     -   TSI D018926-18947
     -   TSI D018948-18969
     -   TSI D018970-18991
     -   TSI D019001-19022
     -   TSI D019023-19047
     -   TSI D020001-20026
     -   TSI D016091-16116
     -   TSI D021574-21590
     -   TSI D021560-21573
     -   TSI D021548-21559


                                        Page | 3
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 4 of 15
                         RJORNER & COMPANY, LLC




    -   TSI D021534, TSI D021540-21547
    -   TSI D019067-19070
    -   TSI D019065
    -   TSI D019066
    -   TSI D019062-19064
    -   TSI D019071-19075
    -   TSI D019076-19077
    -   TSI D019060-19061
    -   Bering Straits 00003435-3449
    -   TSI 000368
    -   Bering Straits 00002809-2816
    -   Bering Straits 00003486-3489
    -   Bering Straits 00004037
    -   Bering Straits 00006686-6688
    -   Bering Straits 00003499-3510
    -   Bering Straits 00003063-3067
    -   Bering Straits 00003511-3530
    -   Bering Straits 00006682
    -   TSI D016080-16081, TSI D019104-19110, TSI D020053
    -   TSI 000257
    -   TSI 2/21/20 Document 123-21, p 8
    -   TSI D021525-21530
    -   TSI 000421
    -   Bering Straits 00003073-3074
    -   TSI 000280-288
    -   TSI 000289-302
    -   TSI 000303-312
    -   TSI 2/21/20 Document 123-15
    -   TSI D021752
    -   TSI D021753
    -   TSI D021754
    -   TSI D021755, TSI D021706-21719
    -   Bering Straits 00002776-2785
    -   Bering Straits 00003542-3553
    -   TSI D019112
    -   Bering Straits 00005424-5459
    -   Bering Straits 00004124-4129
    -   Bering Straits 00003087-3432
    -   Bering Straits 00003014-3019
    -   Bering Straits 00004819
    -   Bering Straits 00004821
    -   Bering Straits 00004823
    -   Bering Straits 00004825
    -   Bering Straits 00005467
    -   Bering Straits 00005469
    -   Bering Straits 00005471


                                 Page | 4
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 5 of 15
                              RJORNER & COMPANY, LLC




     -   Bering Straits 00005473
     -   TSI 000269-271
     -   TSI 000272-275
     -   TSI D021655-21657
     -   TSI D021896-21897
     -   TSI D021649
     -   TSI D021825-21828
     -   TSI D021645
     -   TSI D021641-21642
     -   TSI D021631-21638
     -   TSI D021619-21622
     -   TSI D021944-21947
     -   TSI D021596-21597
     -   TSI 2/21/20 Document 123-2, pp 1-6
     -   TSI D021671-21674
     -   TSI D021782-21789
     -   TIS D021667-21668
     -   TSI D021732-21733
     -   TSI D021872-21877
     -   TSI D021659-21660
     -   TSI D021813-21814
     -   TSI D021792-21793
     -   TSI D021809-21810
     -   TSI D021592-21593
     -   TSI D021940-21942
     -   TSI D021795
     -   TSI D021722
     -   TSI D021720
     -   TSI D021721
     -   TSI D019112-19113
     -   TSI 000258
     -   TSI 000256
     -   TSI 000259
     -   TSI 000260

  These documents, contracts, invoices, email exchanges, among other evidence, support in
  great detail, the analysis of Total Supported Contract Cost of Goods and Direct Expenses
  of $12,196,381 that were incurred and paid by TSI under the Contract.

  There were also certain records of costs incurred by other vendors for the supply of bottle
  water to FEMA in excess of this total, however, the total available record showed that the
  amount TSI actually paid was $12,196,381 under the contract.

  TSI paid $11,683,246 to Bering Straits. TSI also paid $513,135 directly to vendors for
  expenses under the contract. The $12,196,381 actually paid by TSI under the contract are
  the only relevant costs to include in the analysis of Total Supported Contract Cost of


                                        Page | 5
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 6 of 15
                               RJORNER & COMPANY, LLC




  Goods and Direct Expenses under the FEMA Water Contract, which analysis is reflected
  on Schedule B and B1. As discussed below, there are other amounts that TSI claimed
  were paid that were questionable, unsupportable, and/or unsubstantiated.

  Based on the available record and document production noted above, there were
  documents and expense listings produced by TSI which detailed Additional TSI
  Finance Costs, as shown on Schedule B2:

  TSI chose to partner with Bering Straits Native Corporation as a bridge financing source,
  for which additional finance costs were incurred for TSI. Under TSI’s separate
  arrangement with Bering Straits (Bering Straits 00007256), at TSI’s direction, Bering
  Straits would finance payments to facilitate the acquisition of the FEMA water, finance
  the payments for various trucking and logistics services TSI arranged to store and
  transport the water within the continental United States to the ports of Jacksonville, FL
  and Savannah, GA, and financed the payments for the loading of, and maritime barge
  transportation to, Puerto Rico. In the record, there were numerous opportunities where
  TSI was presented a credit application to complete in order to establish their
  creditworthiness to make millions of dollars in purchases of water, and engage millions
  of additional dollars in logistics services – however, the record shows TSI provided the
  Bering Straits contact to complete the credit applications in order to bridge finance the
  payments until TSI received payments from FEMA under the water contract. This is
  bridge financing to TSI, with relatively low risk to Bering Straits as the US Government
  through FEMA is the customer and will pay under the contract. This structure is a
  financing arrangement as outlined in paragraph 470-40-05-2 of the FASB Accounting
  Standards Codification. The financing costs under this arrangement which TSI made
  separately with Bering Straits, however, are TSI’s costs to bear, not their contract
  partners’ cost under the FEMA Water Supply Contract.

  For bridge financing these payments, Bering Straits would receive (1) a fixed 6%
  additional financing fee above the total payments financed for the transportation to Puerto
  Rico, and (2) would also receive as a financing fee the difference between the lower price
  per liter paid for water under the contract and a higher set price per liter of water agreed
  to between TSI and Bering Straits – the combination of these bridge financing fees was
  intended to “provide BSLS the 33% return discussed prior to the DO award” (Bering
  Straits 00007400).

  As detailed in TSI 67 and TSI 68, the cost of water per liter for Niagara and Nestlé were
  $0.1625 and $0.2500, respectively, with the transport costs to Jacksonville and Savannah
  of $0.13 and $0.11. Therefore the total cost per liter to acquire and transport Niagara and
  Nestlé water, respectively, to Jacksonville and Savannah (Zone 1) were $0.2925 and
  $0.36. Under the agreement between TSI and Bering Straits, Bering Straits was to be paid
  $0.42 per liter to Zone 1, retaining the difference as a financing fee which totaled
  $1,162,568 based on 12,235,866 liters of water purchased and delivered under the FEMA
  Water Supply Contract. Bering Straits would also be paid the 6% financing fee above the
  costs financed for the transportation from Zone 1 to Puerto Rico, to a maximum or Not
  To Exceed price for transportation of $0.62 per liter based on 12,235,866 liters, which


                                        Page | 6
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 7 of 15
                               RJORNER & COMPANY, LLC




  total of $7,586,237 was met, and the corresponding financing fee limited to $114,313.
  There were additional costs for the shipping container rental and insurance during the
  extended time in Puerto Rico and return which Bering Straits financed, totaling $447,822,
  upon which the 6% financing fee totaled $26,869. Combined, TSI incurred $1,303,750 in
  additional financing fees to use Bering Straits bank as their financing arm, which fees
  have been excluded from the “I - Summary of Amounts Due Plaintiffs from FEMA
  Water Supply Contract Profits as of May 2019” whereas these financing fees are included
  in “II - Summary of Amounts Due Plaintiffs from FEMA Water Supply Contract Profits
  as of May 2019 Adjusted to Include Financing Costs.”

  Based on the available record and document production noted above, there were
  documents and expense listings produced by TSI which listed Questionable
  Expenses with Limited and/or Conflicting Record, as shown on Schedule B3:

  Of note, two questionable invoices for Coakley Logistics Services, LLC totaling
  $1,036,000.34 (TSI 2/21/20 Document 123-21 pp1-2), both had the full address for TSI,
  but the address for Coakley Logistics Services, LLC was missing the city on their
  address, on their own invoice.

  The invoices were for $448,000.34 and $588,000.00; were sequentially numbered
  (Invoice 2125 on 12/1/2017, Invoice 2126 on 4/15/2018); only had the same single line
  item of description for the service provided (“Logistics services and consulting for
  FEMA Bottled Water relief efforts for Hurricane Maria to Puerto Rico”).; and both
  invoices have what appears to be a digital image of a “PAID” stamp on the documents
  with the corresponding dates of 12/07/2017 and 4/16/2018.

  The record included canceled checks from TSI in the same amounts as the invoices,
  check 2373 for $448,000.34 dated Dec 6, 2017 (TSI 2/21/20 Document 123-21 p1) and
  check 2396 for $588,000.00 on 4/13/2018 (TSI 2/21/20 Document 123-21 p19). Of note,
  check 2396 is dated 4/13/2018 which is before both the invoice date of 4/15/2018 and the
  PAID stamp date of 4/16/2018.

  Also noteworthy, while both invoices were from Coakley Logistics Services, LLC, and
  check 2373 was written to Coakley Logistics Services, LLC, check 2396 was written to
  Coakley Logistics, LLC.

  Given the numerous discrepancies, and since there was no contract or record of either
  Coakley entity, I searched and found that Coakley Logistics Services, LLC filed
  corporate formation documents with the State of Florida, Division of Corporations on
  11/29/2017, only days before the 12/1/2017 invoice. The Florida corporate filing listed
  the Manager of Coakley Logistics Services, LLC as Coakley Logistics, LLC, however,
  there was no Florida entity of that name despite the fact that the filing listed an Orlando,
  FL address for Coakley Logistics, LLC, which address was the same as the Registered
  Agent Address for Coakley Logistics Services, LLC. Further research found Coakley
  Logistics, LLC listed with the Delaware Division of Corporations, which entity was



                                         Page | 7
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 8 of 15
                              RJORNER & COMPANY, LLC




  formed on 11/3/2017, just weeks before Coakley Logistics Services, LLC was formed in
  Florida.

  A review of the Coakley Logistics Services, LLC filings with the Florida Division of
  Corporations found two individuals, John Canal and Alfred Gregory Canal, who signed
  the 2018 and 2019 Florida Annual Report filings for Coakley Logistics Services, LLC.
  Alfred Canal was found on LinkedIn as the CFO of Bunkers International Corp.
  Interestingly, to “bunker” or “bunkering” services relate to the delivery “bunkering” and
  storage “bunker” of marine fuels, which is TSI’s other long-term line of government
  contracting business before the addition of the FEMA Water Supply Contract.

  Further research into John Canal, Alfred Canal, and Bunkers International Corp.
  uncovered a Settlement Agreement regarding the bankruptcy of Bunkers International
  Corp., Dolphin Marine Fuels, LLC, and Atlantic Gulf Bunkering, LLC, the “Debtors”, in
  the United States Bankruptcy Court for the Middle District of Florida, Orlando Division
  (Case 6:15-bk-07397-CCJ Doc 583 Filed 08/05/19), which case settlement included John
  Canal, Alfred Canal, as well as others including Maria Canal, Lanac Investments, LLC;
  Bunkers International, LLC; Americas Bunkering, LLC; Bunkers International Supply &
  Trading, LLC; the “Canal Defendants,” collectively, the “Parties.” The bankruptcy
  Trustee brought adversary proceedings which alleged, among other things, that the
  Canals breached their fiduciary duties to the Debtors, and that the Canal Defendants
  received preferential and constructively fraudulent transfers of assets from the Debtors.

  In addition, the expense listing provided by TSI, initially on 11/19/19 (TSI 240-249), and
  the revised expense listing provided by TSI on 1/29/20 (TSI 448-458), both reflect an
  $448,000.34 expense on 12/8/2017 listed as “Transport to PR(BERING STRAITS) CLIN
  0003.” Since the Bering Straits expenses paid were thoroughly documented in their
  extensive email production, and they didn’t include any mention of Coakley, nor did
  Bering Straits request reimbursement for any Coakley expenses, and since the TSI check
  2373 for $448,000.34 dated Dec 6, 2017 (TSI 2/21/20 Document 123-21 pg1) was to
  Coakley Logistics Services, LLC, and not Bering Straits – this means both versions of the
  TSI expense listings are either (1) incorrect or (2) are in direct conflict with Coakley
  Invoice 2125 on 12/1/2017 for $448,000.34.

  Although neither Coakley entity is present in the record in any other way, let alone
  through correspondence regarding a contract or work order which would support
  $1,036,000.34 of expenses, John Canal is in the record associated with a limited number
  of emails, including a Deborah Mott email to Bering Straits (Bering Straits_0000971)
  stating that “Also copied is John Canal, Lindsay Blee USA, TSI DLA fuels subcontractor
  to give some clarity on shipping prices since the bulk of the quote is for fuel.” In each
  email instance, John Canal is a party to the correspondence on his Lisdsay-Blee email
  address. Further, for context, John Canal is associated with the TSI DLA (Defense
  Logistics Agency) fuels subcontract and fuel and bunker fuels contracts, which are TSI’s
  other existing logistics contracts with the US Government, prior to also winning the
  FEMA Water Supply Contract.



                                        Page | 8
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 9 of 15
                               RJORNER & COMPANY, LLC




  Regardless of the various expense itemization conflicts, and the fact that Coakley
  Logistics Services, LLC incorporated as a business only 2 days before submitting an
  invoice for $448,000.34 of consulting and logistics services, and the irregularities with
  the invoices and check dates – setting aside all of these irregularities, these two one-line
  invoices themselves provide insufficient detail around the services provided to support
  $1,036,000.34 of expenses, particularly when there is no contract for service, work
  orders, any email correspondence, or any other documentation related to either Coakley
  entity presented in the record. The fact that TSI and John Canal have a business
  relationship on other government contracts puts this expenditure in context, and further
  undermines the validity of the Coakley expense claim. As such, based on the record,
  these invoices are both questionable and unsupportable, and in my opinion are not direct
  expenses under the contract. In direct contrast, there is detailed documentation, contracts,
  correspondence and evidence in the record to support and corroborate the $12,196,381.31
  of expenses reflected on Schedule B and B1.

  Based on the available record and document production noted above, there were
  documents and expense listings produced by TSI which presented Unsupportable
  Expenses with Conflicting and/or No Detailed Record, as reflected on Schedule B4.

  TSI provided a detailed listing of the FEMA Water Supply Contract revenues and
  expenses initially on 11/19/19 (TSI 240-249). TSI then provided a revised detailed listing
  of revenue and expenses on 1/29/20 (TSI 448-458), which reflected significant changes
  and deletions, as well as a significant number of listed expense line items and significant
  dollar value of listed expenses which are not corroborated by detailed contracts for
  service, invoices, work orders, any email correspondence or other documentation or
  evidence in the record.

  There are no detailed invoices or records supporting 218 line items of expenses on the
  TSI expense listing provided on 1/29/20 (TSI 448-458) totaling $10,530,355 of listed
  expenses. Further compounding the issue of these unsupported expenses, many of which
  only exist on the TSI expense listing and therefore have very limited or no details
  available, is that $1,003,802 of these claimed expenses also have conflicting details:

  -   22 Ayala Colon line items totaling $4,526,140 including $334,413 of conflicts
      o Of these 22 expense listing line items provided by TSI, only 2 line items stating
         “Ayala CLIN 0016” dated 7/03/2018 had any related records, however the records
         were conflicting for both – notably a TSI check to Bering Straits for $193,613
         (TSI 000258) and a TSI check to Bering Straits for $140,800 (TSI 000256)
      o $81,360 of new Ayala invoices were produced in May 2020, however, these did
         not correspond to any of these 22 Ayala line items on the TSI expense listing.
      o For context, the record does show that TSI does business with Ayala under their
         DLA fuels and fuel bunkering contracts. Regardless, these TSI listed expenses are
         unsupportable and are not substantiated in the record as costs incurred under the
         FEMA Water Contract.
  -   39 DART line items totaling $2,144,238, with $112,887 of conflicts.
      o There were no detailed records supporting any DART expense listings.


                                        Page | 9
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 10 of 15
                              RJORNER & COMPANY, LLC




  -   118 TRBR line items totaling $1,342,436, with $61,001 of conflicts.
      o Of note, $431,775 of new Trailer Bridge invoices produced in May 2020 were
         substantiated contract costs, however, only $233,451 of matching line items were
         found in the TSI expense listing, while $198,324 of invoices were not.
  -   2 Coakley line items totaling $1,036,000 with $448,000 of conflicts
  -   4 Tesza line items totaling $944,553
      o There were no detailed records supporting any Tesza expense listings.
  -   33 Direct Labor line items totaling $536,986 including $14,500 of conflicts and
      $33,000 of conflicts incorrect expense allocations.
      o A document intended to support 1 line item of the 33 Direct Labor expenses line
         items was a TSI check to TSI officer Christopher Mott for $33,000 on 1/10/18
         (TSI 2/21/20 Document 123-21, p11). However, this is incorrectly allocated as an
         officer and member of management would be considered overhead or indirect
         costs, not direct labor, as outlined in paragraph 340-40-25-7 of the FASB
         Accounting Standards Codification. Further, a new Trailer Bridge invoice for
         $14,500 produced in May 2020 is in conflict with the TSI line item which listed
         this as “Logisitcs DIRECT labor CLIN 0016.”

  Both the detailed expense listing provided by TSI, initially on 11/19/19 (TSI 240-249),
  and the revised detailed expense listing provided by TSI on 1/29/20 (TSI 448-458),
  included significant expenses that were unsubstantiated and conflicting, many expenses
  that were double-counted, and there were substantial contract revenues omitted.

  The initial FEMA Water Supply Contract detailed expense listing provided by TSI on
  11/19/19 (TSI 240-249) presented expenses that looked irregular. It is highly unusual that
  all expenses for any business or project, in my experience, are of the same expense
  category for months, then change to only another category for months, and so on, as
  opposed to various expense categories being interspersed throughout time.

  In this case, the only listed expenses were “LOGISTICS” from 4/24/18 to 9/11/18, then
  only “TRANSPORTATION/ OPERATIONS” from 9/13/18 to 10/15/18, then only
  “LOGISTICS” again from 10/15/18 to 12/3/18, then only “TRANSPORTATION/
  OPERATIONS” from 12/3/18 to 2/5/19, and only “LOGISTICS - STAFF” from 2/6/18
  to 3/20/19, and finally, only “TRANSPORTATION/ OPERATIONS” from 3/21/19 to
  10/29/19. Within this unusual conformity of expense items listed, there were $13,471,917
  of claimed expenses that were unsubstantiated, unsupportable expenses and not
  corroborated by detailed contracts for service, invoices, work orders, any email
  correspondence or other documentation or evidence in the record.

  Of note, in this initial detailed expense listing, TSI represented that the “Total Amount
  Received to Date by TSI from FEMA Under MATOC” Water Contract was $27,303,597
  of revenues, with the list of expenses TSI provided totaling $27,046,485, which would
  leave $257,112 of profit, according to TSI. However, $13,471,917 of claimed expenses
  listed and presented by TSI are unsubstantiated and unsupportable. Further, TSI omitted
  $10,275,951 of FEMA revenue received under the contract.



                                       Page | 10
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 11 of 15
                               RJORNER & COMPANY, LLC




  The questions raised by the unsubstantiated nature of the initial detailed expense listing
  provided by TSI on 11/19/19 (TSI 240-249) persist with the revised detailed expense
  listing provided by TSI on 1/29/20 (TSI 448-458), which revised or eliminated 62 of 306
  line items, thus changing 20.3% of the detailed expense line items. Of these, 43 claimed
  expense line items totaling $2,114,015 were simply eliminated, while 19 of these claimed
  expense line items totaling $547,744 were revised. In total, the 62 line items that were
  changed or eliminated represented a $2,661,759 reduction in TSI’s detailed listed
  expenses. Under the initial TSI expense listing, unsubstantiated claimed expenses totaled
  $13,392,940, of which $2,661,759 were revised or eliminated, leaving $10,731,181 of
  unsubstantiated claimed expenses under the revised expense listing provided by TSI. The
  May 2020 document production included invoices which reduced the unsubstantiated
  expenses in the revised TSI expense listing to $10,530,355.

  The initial TSI expense listing also reflected numerous double-counted expense items
  totaling $426,302 of claimed expenses across 10 duplicative line items. However, in the
  revised expense listing TSI removed 5 lines and $148,057 of the double-counted claimed
  expenses, although the remaining 5 duplicative line items were still double counted –
  except that the duplicates were each reduced by 64% for an unknown reason, which is
  unusual and did not have support in the record.

  In addition to the above double-counted expenses, TSI initially double-counted $675,767
  of claimed expenses across 13 other duplicative line items, except that the duplicates of
  these line items were each reduced by 5% for an unknown reason. However, these 13
  duplicative line items were still double counted in the revised expense listing, except that
  the duplicates were each now reduced by 64% for an unknown reason, which is unusual
  and did not have support in the record.

  To support the expense listings provided by TSI, there are only detailed contracts for
  service, invoices, work orders, any email correspondence or other documentation or
  evidence in the record to support 10 of the 306 line items of the initial TSI expense
  listing, then only 10 of the 263 line items of the revised expense listing which eliminated
  43 line items. With the additional Trailer Bridge invoices that correspond to the 12 line
  items from the May documents, 22 line items have relevant records related to them – and
  2 of these are the questionable Coakley Logistics Services, LLC invoices.

  Of note, in this revised expense listing, TSI represented the “Total Amount Received to
  Date by TSI from FEMA Under MATOC” Water Contract was still only $27,303,597 of
  revenues, with the list of claimed expenses TSI provided now revised and totaling
  $24,384,727, leaving $2,918,871 of profit, according to TSI. However, substantial
  expenses TSI presented in the revised expense listing remained unsubstantiated and
  unsupportable. Further, TSI still omitted $10,275,951 of FEMA revenue received under
  the FEMA Water Contract, based on multiple records produced by FEMA detailing total
  amounts paid to TSI under the contract. TSI has subsequently produced records and
  FEMA documents detailing that the revenues received under the contract were, in fact,
  $37,579,548.



                                        Page | 11
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 12 of 15
                              RJORNER & COMPANY, LLC




  Based on the available record and document production reviewed and noted above,
  there were documents listed below which support the analysis of Total Extrapolated
  Additional PR and Shipping Container Expenses with Limited and/or No Detailed
  Record, which totaled $371,380 as shown on Schedule B5:

     -   Bering Straits 00006682
     -   TSI 000421
     -   D021655-21657
     -   D021896-21897
     -   D021649
     -   D021825-21828
     -   D021645
     -   D021641-21642
     -   D021631-21638
     -   D021619-21622
     -   D021944-21947
     -   D021596-21597
     -   TSI 2/21/20 Document 123-2, pp1-6
     -   D021671-21674
     -   D021782-21789
     -   D021667-21668
     -   D021732-21733
     -   D021872-21877
     -   D021659-21660
     -   D021813-21814
     -   D021792-21793
     -   D021809-21810
     -   D021592-21593
     -   D021940-21942
     -   D021795
     -   D021722
     -   D021720
     -   D021721

  From the record, FEMA paid TSI $175 per day for each of the 695 shipping containers
  while FEMA maintained possession of them in Puerto Rico from November 2017
  through August of 2018. Once FEMA relinquished possession, TSI was then able to stage
  the return of the shipping containers to Jacksonville, Florida from San Juan, Puerto Rico.
  To this end, the record, as of May 2020, now includes 26 receipts from Trailer Bridge,
  Inc. for the return of 551 empty shipping containers at a freight charge of $725 per
  container. Since there were no other records on this issue, the $725 freight charge per
  container was used to extrapolate the costs to return the remaining 144 shipping
  containers to Jacksonville, which total is $104,400.

  Additional extrapolated expenses also include the unloading of the containers in
  Jacksonville, Florida. The original loading work there was handled by Tote Marine, who


                                       Page | 12
Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 13 of 15
                               RJORNER & COMPANY, LLC




  originally inspected and loaded 480 of the 695 containers, which invoiced work totaled
  $144,568 (Bering Straits_00006684). Based on the derived cost per container to
  originally load in Jacksonville, this same cost per container was used to extrapolate the
  expense to unload the 695 empty containers in Jacksonville, Florida, which totaled
  $266,980.

  As shown on Schedule B5, The Total Extrapolated Additional PR and Shipping
  Container Expenses with Limited and/or No Detailed Record were $371,380.

  C. Documents supporting the analysis of Total Net Income as Defined by Parties'
     Agreement, Net Income Profit Sharing among TSI and Plaintiffs, Amounts Paid
     to Plaintiffs, and the resulting Net Income Profit Sharing Amounts Due to
     Plaintiffs detailed on Schedule C:

     -   TSI 150-152
     -   TSI 67-68

  The complete analysis, based on the significant document production reviewed and relied
  on, as specified herein above, supports and concludes that TOTAL FEMA Water
  Contract Gross Revenues Paid to TSI (Schedules A and A1) of $37,579,548, were
  reduced by TOTAL Supported Contract Cost of Goods and Direct Expenses (Schedules
  B and B1) incurred under the contract and paid by TSI of $12,196,381, combined with
  TOTAL Extrapolated Expenses with Limited and/or No Detailed Record (Schedule B5)
  of $371,380, resulted in TOTAL Net Income as Defined by Parties' Agreement (Schedule
  C) of $25,011,787.

  As per the agreement between TSI and the Plaintiffs, the profits or TOTAL Net Income
  of $25,011,787 was to be split among the parties, with TSI profit sharing at 75%,
  corresponding to $18,758,840, and 25% profit sharing for Plaintiffs totaling $6,252,947,
  which allocation is shown below:

  TSI Net Income Profit Sharing                        75.00%                   $18,758,840
  Plaintiffs' Net Income Profit Sharing                25.00%                   $ 6,252,947
                                                      100.00%                   $25,011,787

  Given that, to date, the Amounts TSI has Paid to Plaintiffs totals only $998,370, the
  outstanding Net Income Profit Sharing Amounts Due to Plaintiffs (Schedule C) is
  $5,254,577.




                                          Page | 13
   Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 14 of 15
                                   RJORNER & COMPANY, LLC




Qualifications and biography for Ryan Jon Orner, are summarized below and further
detailed in the resume attached as an exhibit.

      Ryan Jon Orner, President of RJOrner & Company, LLC, has nearly 25 years of
      experience in banking and finance, and has served in multiple roles in investment
      banking, private capital investing, as a strategic advisor to middle market companies, and
      as an adjunct professor of finance.

      Mr. Orner joined GlobalView in 2017 to help lead the firm’s private capital investment
      business, participating in all aspects of the investment process, from business
      development, to structuring and executing transactions, to operations and portfolio
      management.

      Prior to this, Mr. Orner was the Founding Partner and Managing Director of Alta Mergers
      & Acquisitions Partners, LLC a middle market boutique investment banking firm focused
      exclusively on M&A originations and related M&A transaction advisory.

      Mr. Orner spent the majority of his investment banking career with Merrill Lynch & Co.,
      within the Global Markets & Investment Banking umbrella, split between the Financial
      Sponsors Group and Merrill Lynch Capital. Prior to Merrill Lynch, Mr. Orner held
      positions with CIBC World Markets Corp. and SunTrust Banks, Inc.

      Through these roles covering both middle market and large market private equity
      sponsors, Mr. Orner successfully completed 25 leveraged buy-out and recapitalization
      transactions representing over $12.0 billion in enterprise value, $7.0 billion of leveraged
      loan and high-yield debt financings, and more than $1.0 billion of initial public offering
      equity transactions.

      After leaving Merrill Lynch in 2009, Mr. Orner spent nearly five years successfully
      leading the Targeted Search activities of Chestnut Hill Partners, LLC, a boutique middle
      market investment bank focused on mergers & acquisitions originations. Mr. Orner
      subsequently founded Alta M&A Partners to continue working across the Targeted
      Search and M&A originations market. As Managing Director, he originated ten highly
      strategic middle market M&A transactions across multiple private equity sponsors and
      numerous Targeted Search engagements.

      Mr. Orner received a Bachelor of Science (B.S.) in Finance and Political Science from
      Florida State University in 1995, where he served as Student Body President, where he
      exercised executive responsibility and signature authority over a $5 million budget, and
      represented the 30,000 students of FSU before the state and local governments, and
      managed and held oversight responsibility for more than 300 full-time and part-time
      administrative staff.

      Mr. Orner went on to earn a Master of Business Administration (M.B.A.), with an
      emphasis in finance, from the McDonough School of Business at Georgetown University
      in 2002.


                                            Page | 14
   Case 4:18-cv-00442-RH-MAF Document 181-1 Filed 09/04/20 Page 15 of 15
                                    RJORNER & COMPANY, LLC




       In addition to his full-time work in banking and financial consulting, since 2014 Mr.
       Orner has enjoyed giving back to his alma mater and helping train the next generation of
       bankers as an Adjunct Professor of Finance at Florida State University, where he teaches
       the Investment Banking class offered as core curriculum of the Master of Science in
       Finance Program

       Through his undergraduate and graduate studies in business and finance, Mr. Orner took
       a variety of accounting and financial statement analysis courses including financial
       accounting, managerial accounting, cost accounting, analysis of financial statement
       presentation.

       In addition, as part of the bank training programs at SunTrust, CIBC, and Merrill Lynch,
       Mr. Orner also received focused accounting, corporate finance, and financial modeling
       training over the years, which knowledge has been integral to his career in banking – over
       which time he has consistently had the opportunity and responsibility to prepare and/or
       review both internal company-prepared and accountant-prepared financial statements;
       dynamic financial models, forecasts, and valuations; accounting due diligence and quality
       of earnings reports; as well as a variety of SEC filings.

As compensation for the study and testimony in this case, Ryan Jon Orner, will receive the
following:

       Fees for services at the rate of $150.00 per hour for all expert witness services, including
       but not limited to document review and analysis, calculations, conclusions, preparation of
       reports, and necessary travel time, except that fees for testimony at deposition or trial will
       be paid at the rate of $300.00 per hour.




                                              Page | 15
